Case 1:18-cv-00100-AJN Document 22 [Fited-65/6728-

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Yyoor ¢
i y; oa

Tosh Henderson,

Plaintiff,

Orda Management Corporation, et al.,

Defendants.

18-cv-100 (AJN)

ORDER

ALISON J. NATHAN, District Judge:

“Page tot 1 aT

In light of the May 3, 2018 letter stating that all parties consent to remand, see Dkt. No.

20, the Court grants the request of Plaintiff, see Dkt. No. 11, and Defendants JRM Construction

Managers, Orda Management Corporation, and 225 Fourth LLC, see Dkt. No. 13, to remand.

The Clerk of the Court is directed to remand the case to the New York State Supreme Court,

New York County.

SO ORDERED.

Dated: May , 2018
New York, New York

(7 AMISON J. NATHAN
United States District Judge
